Case 08-14631-GMB   Doc 316-2 Filed 05/21/08 Entered 05/21/08 13:04:58   Desc
                           Exhibit A Page 1 of 2




                      EXHIBIT A
               Case 08-14631-GMB      Doc 316-2 Filed 05/21/08 Entered 05/21/08 13:04:58   Desc
                                             Exhibit A Page 2 of 2




Master Lease    Term      Monthly      Months     Remaining                   Equipment
Schedule No.   (Months)   Payment     Remaining    Balance
     11          60       $2,549.00      30       $76,470.00        HUBTEX Side Loader, s/n JU4356

    19           60       $2,317.00      35       $77,595.00         DREXEL Forklift Model SLT 30,
                                                                          s/n 9458661051
                                                                     DREXEL Forklift Model SLT 30,
                                                                          s/n 9645161549
                                                                     DREXEL Forklift Model SLT 30,
                                                                           s/n 899037081

    21           36       $2,093.08      11       $23,023.88     NEW HOLLAND Loader Model LW110,
                                                                      s/n ZEFOLW11000495124

    22           60       $1,544.60      35       $51,730.00         DREXEL Forklift Model SLT 30,
                                                                           s/n 934288604
                                                                     DREXEL Forklift Model SLT 30,
                                                                          s/n 9573961363

    23           60       $3,089.33      34       $100,504.00        DREXEL Forklift Model SLT 30,
                                                                           s/n 917783206
                                                                     DREXEL Forklift Model SLT 30,
                                                                          s/n 9598341404
                                                                     DREXEL Forklift Model SLT 30,
                                                                           s/n 935962693
                                                                     DREXEL Forklift Model SLT 30,
                                                                           s/n943875887
